         Case 21-20687         Doc 1911          Filed 03/10/25         Entered 03/10/25 10:47:04        Page 1 of 1

                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                   Filed and Entered
                                                                                                       On Docket
                                                                                                    March 10, 2025


In re:
         The Norwich Roman Catholic Diocesan Corporation                                     Case Number: 21−20687
         Debtor*                                                                             Chapter: 11




                                    ORDER SCHEDULING STATUS CONFERENCE



      ORDERED: A Status Conference will be held on March 12, 2025 at 11:00 AM at 450 Main Street, 7th Floor
Courtroom, Room 715B, Hartford, CT 06103, to consider and act upon the following matter(s):

      Amended Motion to Approve Settlement Agreement with Mercy High School Corporation Filed by Patrick M.
Birney on behalf of The Norwich Roman Catholic Diocesan Corporation, Debtor (RE: 1617 Motion to Approve
Settlement Agreement filed by Debtor The Norwich Roman Catholic Diocesan Corporation) (Re: Doc #1906)

Amended Motion to Approve Settlement Agreement with St. Bernard's School of Montville, Inc. Filed by Patrick M.
Birney on behalf of The Norwich Roman Catholic Diocesan Corporation, Debtor (RE: 1616 Motion to Approve
Settlement Agreement filed by Debtor The Norwich Roman Catholic Diocesan Corporation) (Re: Doc #1907)

Amended Motion to Approve Settlement Agreement with Xavier High School Corporation of Middletown Filed by
Patrick M. Birney on behalf of The Norwich Roman Catholic Diocesan Corporation, Debtor (RE: 1651 Motion for
Order Approving Settlement with Xavier High School Corporation of Middletown filed by Debtor The Norwich
Roman Catholic Diocesan Corporation) (Re: Doc #1908) ; and it is further


       ORDERED: Counsel for the parties to the matter(s) listed herein, or the parties if not represented by counsel,
shall appear before this Court at the Status Conference .




Dated: March 10, 2025                                                                      BY THE COURT




United States Bankruptcy Court                                                       Tel. (860) 240−3675
District of Connecticut                                                              VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                           * Voice Case Information System
Hartford, CT 06103                                                                   http://www.ctb.uscourts.gov
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
